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           NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                  ______________________

                      APPLE INC.,
                       Appellant

                             v.

      INTERNATIONAL TRADE COMMISSION,
                  Appellee

        MASIMO CORPORATION, CERCACOR
             LABORATORIES, INC.,
                    Intervenors
              ______________________

                        2024-1285
                  ______________________

    Appeal from the United States International Trade
 Commission in Investigation No. 337-TA-1276.
                 ______________________

                      ON MOTION
                  ______________________

   Before LOURIE, PROST, and TARANTO, Circuit Judges.
 PER CURIAM.
                        ORDER
     Apple Inc. moves to stay, pending appeal, the Interna-
 tional Trade Commission’s limited exclusion order and
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 cease-and-desist order (“the Remedial Orders”). The Inter-
 national Trade Commission and intervenors (Masimo Cor-
 poration and Cercacor Laboratories, Inc.) oppose.
      Apple requested a decision from the Exclusion Order
 Enforcement Branch of U.S. Customs and Border Protec-
 tion (“the EOE Branch”) on whether redesigned versions of
 the relevant Apple watch products were subject to the Re-
 medial Orders. Stay Mot. at 2. After Apple filed its motion
 for a stay in this court, the EOE Branch concluded that Ap-
 ple’s redesigned products are not subject to the Remedial
 Orders.
     Rule 18 of the Federal Rules of Appellate Procedure au-
 thorizes this court to grant a stay pending this appeal. Our
 determination is governed by four factors: (1) whether the
 movant has made a strong showing of likelihood of success
 on the merits; (2) whether the movant will be irreparably
 harmed absent a stay; (3) whether issuance of the stay will
 substantially injure the other parties interested in the pro-
 ceeding; and (4) where the public interest lies. See Nken v.
 Holder, 556 U.S. 418, 434 (2009).
     Having considered all four factors, and the recent EOE
 Branch ruling, we lift the interim stay and deny Apple’s
 motion. We reach no conclusion on the merits of the ap-
 peal.
     Accordingly,
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     IT IS ORDERED THAT:
     The motion is denied. The interim stay shall be lifted
 as of 5:00 pm E.T. on January 18, 2024.
                                              FOR THE COURT




 January 17, 2024
     Date
